Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 1 of 8

                                                                                         Flt'
                                                                                           .
                                                                                            .i'
                                                                                              q.'
                                                                                                4.'k
                                                                                                   '.
                                                                                                    ,. MM
                                                                                                        .. . .
                                                                                                             <b
                                                                                                             . '
                                                                                                               '.
                                                                                                                '
                                                                                                                't
                                                                                                                 l4.
                                                                                                                  . 'i
                                                                                                                  ..




                                                                                          Jan 17l 2023
                                                                                               .

                                                                                          '
                                UNITED STATESDISTRW TCOURT                           '     AN/EIAE.  'NDBLE
                                                                                           LLtR:.0.S..M!ST
                                                                                                         t.'C1
                                                                                                             .-.: ::
                                SOUT'H ERN DISTW W OF FLORIDA                              &:2bF'F
                                                                                                 :LA. '-'
                                                                                                        MIAM'1,$
                         23-10002-C R -M O O R E/S NO W                '
                                                           .

                                 CASE NO .                     .

                                           18U.S.C.j371
      UNITED STATESOF AM EFICA
            m

      BAW R M YAM V,

                    Defendant


                                         N    ORM ATIO N

            The Acting M sie ntAttom ey Generalchargesi at:
            Atallfim esrelevantto thisInform aûon,oraà otherwise indicated herein:

                    BATYR M YATV V,thedefendanswasaresidentofKeyW estFlorida-
                    Betwren November2010 and October2020,tile defendsmtowied and operated
      seterallabornfnm ng com panies,includh g VitaSolutions,Inc.;Oolden CoralTotalSerdce,Inc.;
      Best Results Total Services,Inc.; Am eri Hosp LLC; an
                                                          'd Golden Sands M anagem ent, LLC
                                                       '
  .

      (collecdvely,Qtlaborstnmng compaaiesn).Through these labors'sfJG#nk companies,BATYR
                .



      MYATIEV audothersprovidedworkep tohotels,bls,andrestallrsntsopehdngintheSouiern
      Die ctofFlorida.

                                  STJM M ARY OF TITR SfY m

                    Asallegedin tbisJnformrdonoBATYR M YATHW anb
                                     '
                                                               'oiersfaci
                                                                        àtated the
      employmentlnthehospitality industryofnon-residentalienswhowerenotauiorizedtoWork in
      the United States.By obtnining p d paying workers tbrdugh the defendsmt's labor stne ng
      compe es, hotels, bars, and reshlxm nts opefae g in Key W est and elsewhere attem pted to
Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 2 of 8




    disclm'm responsibilityfozensuringthat:(1)workerswerelegallyauthorizxdtoworkintheUnited
    States,and(2)federalincomeandemploymenttaxeswerewifhheldandpaidovertotheIntemal
   RevenueService(m S).
                                           G TRODU CTION

          4.     TheIRS wasanagçncy oftheu nited StatesD epnrtmentoftheTreasuryresponsible

   foradm lnistee g l etax lawsoftheUnited Sttesand collecting taxes owed to theUnited St tes.

                 TheFederalInsmanceCondbution Act(FICA)reqe edemployerstowitbhold
   M H careand SocialSecudty taxesâom theiremployees'w ages.n eInternalRevenueCodealso

   require; employersto wio old federalincometaxesâom theiremployees'wages.Employers
   held these taxes iu trustforthe United States and were fequired to pay them overto the IRS on
                                                                                             .

                                       .                                ..'


   behalfoftbeiremployees.Collectively,thesewio eld taxeswillbereferred to asf'trusrtfund
   YXUSOX'

                 Inaddtiontothetrustftmdtaxes,employerswererequizedtopayoveranemplpyer
   portion ofFICA taxes.Thetrustflm d taxesalong with the em ployer'sportipn ofFICA taxesw ill

   becollectively referred to as Gemploym enttaxes.''

          7.     UnitedStatesCitizenshipandlmmigrationServices(USCIS)'
                                                                     wasaUnhedStates
   governm entalagency whoseprbm ary responsibilityw asto enforcethenafbn's:
                                                                           'm m bp ation law s.

          8.     TheUSCIS Form 1-9,EmploymentEligibility Verifcatiow (USCIS Form 1-9)
   required tllatan em ployee attgstto M sorherem plom entauthorlzstion.The em ployeem ustalso
   presentacceptable docum entsevidencing identity and employm entauthorizauon to theem ployer.
                                                                                     '
                                                                               .         ,


   The employer must evnm ine the employm ent eligibility and ldentity docum ents to determine
   whetlwrthe doouments zeasonably appear to be genuine and to relate to the employee.W e '




                                                 2
Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 3 of 8




    em ployer w as required to record em ployee identity irlform ation on the U SCIS Form I-9 and

    m aiufsinthoserecordsonsite.

                                           COUNT ONE
                                (Conspifacyagm'ngttheUnitedStates)
                                                             *         .


           9.     Thefactualallegafonsconfznediaparap aphs1tbrough 8oftllisInformationare

    re-allegedand incoporatedhereim

           10.    Beginnlng in N ovember 2010 aùd condnuing through October 2020,w ithln the

    Soutilem DistrictofFloddaandelsewbere,thedefendantv

                                       BATYR M YATIEV,
   V .L., O .C., and others lm own and llnknown to the United States,unlaw fully, voluntmily,

    intentionv y,and H owingly conspireda combined,confederated,and agreed together and * 111

   eachother(1)todefraudtheUnitedSltesbyimpedng,impnlrlng,obe lctmg
                                                                 ' ,anddefeatingthe
   lawful gùvernment functions of the m R in the ascertnlrmeni,computatiop assessment and

   collectionoffederalincometaxesandemploymenttaxes,and(2)tocomml
                                                                'toffensesagainstthe
   UnitedStates,namely(a)encouraghlgandinducingalienstocometo,enter,orresideintheUnited
    Stateslœ owing orin reckless disregard ofthe facttbstsuch coming to,entry,orresidencew asor
                            .




   wouldbeinviolation oflaw,inviolation of8U.S.C.61324(a)(1)(A)(iv),and,(b)concealhg,
   harboring,and shielding 9om detection aliensknowing orin recklessdisregard ofthe factthat
   such alienshad com eto,entered,orremnlned in theUnited Statesin violation oflaw ,in violae n

   of8U.S.C.j1324(a)(1)(A)(iii).
                                        M anner and M eans

                 In fllrtherancç of the conspH cy,BATYR M YATIEV ,V ,L.,O .C., and oi ers

   known and lmknown to theUnited Stàtesentered into written contractsand verbalapeements
   w 111:hotels,bars,and restallm ntsin K ey W estand elsewhere to provide labor staffm g serdces.
    Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 4 of 8




                          .                 rJ
       Theseagreem enà helped thedefendaut'scustom ersattem pttodisclnim responsibilityforensllring

       thatwbrkers w ere legaliy authodzed to work in i e United States and that federalemploym ent
       '
       taxes were w ithheld and pa
                                 .id overtothem S,whenyinfact many ofthe defendant'scustomers
       % ew or had m ason to believe O t the workers provided tmder these àp eem ents w ere not

       authorizedtoForkintheIv tedStatesandthatfederalincomeandemplom enttaxeswerenot
       being witbheld mld paid overto the IRR.

              12.     In fnrfherauce of the conspiracy,BATYR M YATG V ,V .L., O .C., aud others

       knowntotheUnited Statesfadililatedtheemploymentofmoreth% 100alienworkersby hotels,
       b= ,andrestaurantsinKey W estandelsewhereknowiugorinrecklçssdisregardofthefactthose

       alienworkerswerenotlegally presentintheUnitedSvtesanddldnothaveautilorizaûontowork
       i!lthe United States.'I'
                              he workers em ployed at the hotels, bars and restaurants w ho used
       defendnnt'slaborstnfsng services did notattestto tlleireligibility to w ork in theU nited States

       OnUSCISForms1-9,andhefailedcompleteo
                         .                l
                                            rmaintaintherequisiteUSCISForm I-9recordsfor
       each worker.

              13.     In filrtbëraace ofthe consplac'y,BATY R M YATTRV,V .L.,G.C.,and others

       known and llnknown totheUnited Statespaid workerswii outwio plding federalincome

       orem plom enttaxesâom the w orkers'r ossw ages.

                      In flzrfb:ranceofthe conspiracy,BATYR M YATTRV,V.L.,G,C.,and others

       u own and nnknown to the Uaited States failed to prepare and Sle w ith the Flk: requisite
       Form W -2,W age and Tax Statem ents,forw orkersem ployed athctels,bars,and restaurantw
                                                                                            s
       in K ey W est= d elsew here tbrough the defendu t's laborstam ng com pe es.




i                                                    4
Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 5 of 8




                                           OvertA cts

          15.    O n oraboutN ovem ber7,2019,Oolden SandsM anagem ent,LLC,issued theck

   number24674 toM .S.in tlleam ouutof$988.70.Titisamountrepresented tmtaxedwagesto
   M .S.eam ed forlaborprovidedthroizgh Golden SandsM anagement LLC,to am arinain Key
   W est,Florida.D uring thetim e ofltisem plom ent,M .S.w asnotlawfully presentintheUnited

    Statesnorw ashe authozized to w ork in the United States.

          I:lviolation ofTitle 18,United States Code,Section 371.

                                            M ARKENZY LAPOINTE
                                            United S>tesAttom ey


                                            Sean Beaty,SeniorLiugati ounsel
                                            Disi ctCourtN o.A5501870
                                            JessicaA.Kraà DistriotCourtNo,A5502644
                                            N ico'
                                                 lasJ. Schilling Jr.,Disd ctCourtNo.A5502809
                                            M atthew C.Hicks,Disd ctCourtN o.A5502778
                                            W ilson Rae Stnm m jDisd ctCourtN o.A5503006
                                            TdalAttom eys
                                            U.S.Depnrfm entofJusuce,Tax Division
                                            ChristopherClarlq FloddaBarNo.0588040
                                            Assise tUnited StatesAttom ey
Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 6 of 8


                                         UM TED STATES DISTRICT COURT
                                         SOUTHERN DISTW CT OF FLOD A
.   UM TED STATES OF AM ARICA                            CASE NO.:

    V.
    BatyrMyatiev,                                        CERH FICATE OF TRIAT,AW ORNXY*
                                            /            Supersedh gCaseInform ation:
                       D efqndant.
    CourtDidsion(selectone)                              New Defendantts)(YesorNo)Yes
       D Miami D KeyW est D FI'P                         Num berofNew Defendants 1
         D FTL        D W PB                             TotalnumberofNew Coupts 1
    Ido hereby certify that;
      1. Ipavecarefullyconsideredtheallegationsoftheindictment$enumberofdefend=x thenumberofprobable
         wltessesandtheIegalcomplexitlesoftheIndicu ent/fnformatlonattachedhereto.
                                     .



           fam awaretha!theinformation suppliedonthisstatementwil)berelieduponbytheJudgesofthisCourtin setting
           theircalendarsandsched.ulingcri
                                         minaltrialsunderthemandatecftheSp-zyTrialAct,Title28U.S.C.j3161.
     3. lnterprder:(Ye,
                      sorNo)No
           Listlanguagearld/ordialect:      -


           Thiscasewilltake 0 daysforthepartiestotry.

     5. Pleaseoheck appropriatecategory andtypeofofenselisted below :
        (checkonlyone)                    (Checkonlyone)
          I     D 0to 5 days                 L petty
          H     13 6to10days                L M inor
          m     D 11to20days                 D isdemeanor
          IV   ID 21to 60days                  Felony
          V     D 61daysand over            '
     6. HasthiscasebeenpreviouslyGledinthisDistrictCouro (YesorNq)No
           Ifyes,Judge                                     CaseNo.
     7, HnMacomqlahtbeenfile,dinthismatter?(YesorNo)No
           Ifyes,M apstrateCaseN o.                                   .                 .

     8. DoesthiscaserelatetoapreviouslyGledmatterinthisDistrictCourt?(YesorNo)Mo
           Ifyes,Judge                                   ' CaseN o.
     9. Defendantts)infedemlcustodyasof
     10. Defendantts)instatecustodyasof
     11. Rule20from the                    D istrictof
     12. Isthisapotentialdeathpenaltycase?(YesorNo)No
     13. Dcesthiscaseoriginate from a matterpending intheNorthern Region oftheU .S.Attom ey'sOffice
          priortoAugust8,2014(Mag.JudgeShaniekMaynard?(YesorNojNo
     l4. Doesthiscàseoriginatefrom amatterpendingintheCentralReglonofiheU.S.Attomey'sOfûce
         priortoOctober3,2019(M ag.JudgeJared Strauss?(YesorNo)No


                                                         By:

                                                               D0JSeniorLitigation Counsel
                                                               CourtID No. . A5501870
Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 7 of 8




                         UM TED STATESDVTRIG COURT
                         SO UTH ERN DISTRICT OF FLORIDA

                     CA SE N O.


                                  PENALT Y SH EET

   Defendant'sN am e: BAW R M YA TIEV

    COUNT    W OLATION        U .S.CODE       M A X.PENM TY
    1        Conspiracy(Dual 12U.S.C.j371     MaxImprisonment:5years
             Object)                          Max-Fine:$250,000.0rtwicethegreaterof
                                              thegrossgain ozloss
                                              M ax Su erdsedReleaseTe= :3yeais
Case 4:23-cr-10002-KMM Document 1 Entered on FLSD Docket 01/17/2023 Page 8 of 8




A0455(Rev.01/09)Wai
                  verofanlndictmenf

                               U NITED STATES D ISTRICT C OURT
                                                 f0rthe                   '
                                        Soulhem DistrictofFlorida

              UnitedStata ofAmerica                )
                          V,                       )     CaseNo.
                                                   )
                   BatyrMyatiev,                   )
                      sisaoa/                      )
                                      W AM R OFAN M IW M ENT

       Iunderstandthat1havebeenaccusedofoneormoreofeniesptmishablebyimprisonmentformorethanone
year.Iwasadvisedin opencourtofmyrightsandthenamreoftheproposedchargesagainstme.
       Aherxceivingthisadvice,1wdve'myrighttoprosecufonbyindictmentand consenttoprosecutionby
information.



Date: .
                                                                          De
                                                                           h ndant:sl
                                                                                    gnature


                                                                     â'
                                                                      lgrlllurgofde#narmt'
                                                                                         ,attornny
                                                                           ScottA.Hîaasen
                                                                    Prlntqdzl/zz
                                                                               leofdefendant:
                                                                                            Tattornny


                                                               '            Jege'
                                                                                Jslgnature

                                                          '
                                                                      Judge'
                                                                           sprinted?w??1:and *1,
